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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

  LETASHA MYATT, on behalf of herself         )
  and others similarly situated,              )
                                              )
                          PLAINTIFF           )
  VS.                                         )        Case Number: 1:10-cv-064-TLS
                                              )
  ALLEN COUNTY SHERIFF KENNETH                )
  FRIES (in his official capacity),           )
                                              )
                          DEFENDANT           )



                          DEFENDANT’S PROPOSED VERDICT FORM




                VERDICT FOR PLAINTIFF CLASS MEMBERS WHO TESTIFY

    Plaintiff/Class Member      Number of Hours Over Detained   Amount of Damages
  LeTasha Myatt                              18
  William Gerber                             8
  Brittany L. Bright                         7
  Kerry Whitson                              11
  Anthony W. McGee                           13
  Ronald Collins                      15             34
  Jamie Denuyl                               9
  Louis Lawson                               34
  Jeffery Saylor                             17
  Donald Norman Maples                       46
  Akeem D. Boddie                            50



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    Plaintiff/Class Member     Number of Hours Over Detained   Amount of Damages
  Moses Blevins                             46
  James L. Saylor                              44
  Gary Burt                                    41
  Joseph W. Rogers                             28
  Trinity Stewart                              16
  Daniel Shipley                            14
  James Austion                             36
  Lonnell Eggerson                             49
  Sonya L. Rodriguez                        48
  Wil Bates                                 11




    Plaintiff/Class Member     Number of Hours Over Detained   Amount of Damages
  Chad David Bienz                             8
  Jose Eduardo Viveros                         8
  Leroy Tramaine Simpson                       9
  Cherissa Marie Crutchfield                   8
  Donald Wayne Sawvel                          1
  Reginald Bernard Hicks                       7
  Eddie Dunlap                              11
  Alejandro Prado Navarrete                    11
  Jessica Rana Iacovacci            6                4
  Inacio Lorenzo Goncalves                     9
  San Maw                                      14
  Lydia Gayle Carrizales                    14
  Kenneth Alan Dague                           19
  Luther Hardy                              21


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    Plaintiff/Class Member   Number of Hours Over Detained   Amount of Damages
  Christopher Brian Dawson                   29
  Britteny Suzan Ladig                       29
  Saman Jeihooni                             41
  Mechelle Lynn Freeman                      40
  David Velazquez Gonzalez                66
  Latasha Nicole Nowlin                   57




 DATED: ____________________          __________________________________________
                                      FOREPERSON




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